                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )
vs.                                           )       Mag. No. 1:11-mj-23
                                              )
PASCUAL RAMIREZ-RAMIREZ                       )       JUDGE CARTER

                                MEMORANDUM AND ORDER

        In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code § 3142(f), the initial appearance, was
held in this action on February 3, 2011. Those present included:

               (1) AUSA James Brooks for the United States of America.
               (2) The defendant, PASCUAL RAMIREZ-RAMIREZ.
               (3) Attorney Jay Clements for defendant.
               (4) Deputy Clerk Barbara Lewis.

       Upon being sworn the defendant was informed or reminded of his privilege against self-
incrimination accorded him under the 5th Amendment to the United States Constitution.

         AUSA Brooks moved the court for an order detaining the defendant. The defendant waived
his detention hearing and preliminary hearing, reserving the right to ask for a detention hearing at
a later date.

                                             Findings

       Based on the sworn Affidavit/Complaint and defendant’s waiver of preliminary hearing
and detention hearing, the undersigned finds:

               (1) There is probable cause to believe that there have been
               violations of 18 U.S.C. § 371 and 1028(a)(1), conspiracy to
               commit an offense against the United States, that is, to knowingly
               and without lawful authority produce an identification document in
               and affecting interstate commerce, and one or more of the co-
               conspirators committed overt acts to effect the object of the
               conspiracy, committed in the Eastern District of Tennessee.

               (2) There is probable cause to believe the defendant committed the
               aforesaid offenses.


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                                       Conclusions

     It is therefore ORDERED:

     (1) The defendant is DETAINED without bail.

     (2) The defendant’s next appearance shall be before the undersigned U.S.
     Magistrate Judge at 11:00 a.m. on Wednesday, February 9, 2011, for an
     arraignment.

     ENTER.

                                         s/William B. Mitchell Carter
                                         UNITED STATES MAGISTRATE JUDGE




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